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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   HANS MAESTRE, an individual,

           Plaintiff,                                       JURY TRIAL DEMANDED

   v.

   ABILITY RECOVERY SERVICES, LLC,
   a Pennsylvania limited liability company,

         Defendant.
   ___________________________________/

                                          COMPLAINT

         1.      Plaintiff, HANS MAESTRE, alleges that Defendant ABILITY RECOVERY

  SERVICES, LLC (“Defendant”) while engaged in the collection of allegedly delinquent

  debt, committed violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

  seq. (“FDCPA”).

         2.      The FDCPA was enacted “to eliminate abusive debt collection practices by

  debt collectors.” 15 U.S.C. § 1692(e). The statute provides for civil liability for a wide range

  of abusive actions, including, but not limited to the collection of any amount (including any

  interest, fee, charge, or expense incidental to the principal obligation) unless such amount

  is expressly authorized by the agreement creating the debt or permitted by law. See 15

  U.S.C. § 1692f.

         3.      On March 30, 2010, the Eleventh Circuit unequivocally pronounced that the

  failure to register oneself in the State of Florida as a “consumer collection agency”

  constitutes a valid basis for an alleged violation of the FDCPA. LeBlanc v. Unifund CCR

  Partners, 601 F. 3d 1185 (11th Cir. March 30, 2010) (“We therefore hold that a violation

  of the FCCPA for failure to register, may in fact, support a federal cause of action under

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  Section 1692e(5) of the FDCPA.”

         4.      The FDCPA also allows Plaintiff to recover “any actual damage sustained”

  as a result of a violation of the statute. 15 U.S.C. § 1692k(a)(1).

         5.      The FDCPA is a strict liability statute and, therefore, does not require a

  showing of intentional conduct on the part of a debt collector. Rivera v. Amalgamated Debt

  Collection Services, 462 F. Supp. 2d 1223 (S.D. Fla. 2006).

         6.      “A single violation of the Act is sufficient to subject a debt collector to

  liability under the Act.” Lewis v. Marinosci Law Grp., P.C., 2013 WL 5789183, at *2 (S.D.

  Fla. Oct. 29, 2013).

         7.      There is only one affirmative defense to liability for a violation of the

  FDCPA, the “bona fide error” defense. 15 U.S.C. § 1692k(c). See Tourgeman v. Collins

  Financial Services, Inc., 197 F. Supp. 3d 1222, 1225 (S.D. Cal. 2016).

         8.      The bona fide error defense applies only to procedural or clerical errors. It

  does not excuse mistakes of law — i.e., “violations resulting from a debt collector's

  mistaken interpretation of the legal requirements of the FDCPA.” See Jerman v. Carlisle,

  McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 576 (2010).

         9.      The Eleventh Circuit Court of Appeals has adopted the “least sophisticated

  consumer” standard to analyze claims of deception or misrepresentation under section

  1692e. Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985). This objective

  standard analyzes whether a hypothetical least sophisticated consumer would be deceived

  or misled by the debt collector's practices. Id. at 1175-76.

                                JURISDICTION AND VENUE

         10.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (“The



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  district courts shall have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States.”), 28 U.S.C. § 1337 (“The district courts

  shall have original jurisdiction of any civil action or proceeding arising under any Act of

  Congress regulating commerce ...”), and 15 U.S.C. §1692k (An action to enforce any

  liability created by this subchapter may be brought in any appropriate United States district

  court without regard to the amount in controversy, ...”).

         11.     Venue is proper in this judicial district because Defendant engaged in the

  complained of collection activities in this district. 28 U.S.C. § 1391(b)(2) (“A civil action

  may be brought in— (2) a judicial district in which a substantial part of the events or

  omissions giving rise to the claim occurred, or a substantial part of property that is the

  subject of the action is situated.”).


                                                 PARTIES

         12.     Hans Maestre (“Plaintiff”) is a natural person and resident of Miami-Dade

  County, Florida.

         13.     Hans Maestre, as further described herein, is a consumer as defined by 15

  U.S.C. § 1692a(3).

         14.     Ability Recovery Services, LLC is a Pennsylvania limited liability company

  whose principal address is 284 Main Street, Dupont, PA 18641, and whose registered agent

  for service of process in the state of Florida is Corporation Service Company, 1201 Hays

  St., Tallahassee, FL 32301.

         15.     Ability Recovery Services, LLC is registered as a consumer collection agency

  in the State of Florida (CCA9902892) and is a “debt collector” as defined by 15 U.S.C. §

  1692a(6).


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                                    FACTUAL ALLEGATIONS

         16.    On or about July 26, 2016, Plaintiff, while acting in the course and scope of

  his employment as a police officer with the City of Aventura, Florida, was injured in a work-

  related accident which required medical treatment or services.

         17.    A portion of such necessary medical treatment or services was provided by

  Sterling Emergency Services of Miami Beach, P.A. (“Sterling Emergency Services”).

         18.    Plaintiff was sent to Sterling Emergency Services of Miami Beach, P.A. while

  still in his policeman’s uniform, and Sterling Emergency Services was fully informed and

  aware of the nature of Plaintiff’s work-related injury.

         19.    Plaintiff advised his employer, the City of Aventura Police Department, of

  the injury which confirmed the compensability of the accident and treatment for the injuries

  sustained.

         20.    Upon information and belief, all medical bills for Plaintiff’s work-place

  related injury were either fully paid or agreed to be paid by Plaintiff’s employer and/or

  Workers’ Compensation insurance carrier.

         21.    Under Fla. Stat. § 440.13(2)(a), an injured employee is entitled to “such

  medically necessary remedial treatment, care, and attendance for such period as the nature

  of the injury or the process of recovery may require.” Ascension Benefits v. Robinson, 232

  So. 3d 1178, 1180 (Fla. Dist. Ct. App. 2017).

         22.    Additionally, under Fla. Stat. § 440.13(13)(a), a health care provider may not

  collect or receive a fee from an injured employee within this state, except as otherwise

  provided by this chapter. Such providers have recourse against the employer or carrier for




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  payment for services rendered in accordance with this chapter. See Avalon Center v.

  Hardaway, 967 So. 2d 268, 274 (Fla. Dist. Ct. App. 2007).

         23.    Furthermore, in accordance with these statutes, an employee is shielded from

  liability in any dispute between the employer or carrier and health care provider (as is the

  case here) regarding reimbursement for the employee’s authorized medical or psychological

  treatment. See id.

         24.    Regardless, on or about, November 6, 2018, Ability Recovery Services, LLC

  (in an attempt to collect the Sterling Emergency Services of Miami Beach, P.A. debt)

  opened a negative delinquent credit report in the amount of $1,429.00. As a result of the

  negative impact, Plaintiff was unable to obtain financing and suffered an increased the cost

  of his automobile insurance.

         25.    Then, on or about, December 26, 2018, Plaintiff received a letter from Ability

  Recovery Services, LLC demanding payment in the amount of $1,429.00. The letter also

  informed Plaintiff that Pendrick Capital Partners had purchased the debt from Sterling

  Emergency Services, and that even though his bill reflected a “zero” balance, he still owed

  the full amount to Pendrick Capital Partners.

         26.    On January 16, 2019, the Florida League of Cities, Inc.1, sent Ability

  Recovery Services, LLC a letter advising them to “cease and desist” from all collections

  against Plaintiff in accordance with Fla. State 440.13(3)(g).

         27.    Later in January, Plaintiff spoke directly to the owner of Ability Recovery

  Services, LLC, who informed Plaintiff that Ability Recovery Services, LLC refused to



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   The Florida League of Cities, Inc. insurance services, including workers’ compensation
  coverage, for approximately 600 public entities in Florida, of which 250-plus are
  municipalities.
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  remove the alleged debt from his personal credit report. He refused, even though the Florida

  League of Cities sent Ability Recovery Services, LLC a letter to “cease and desist” from all

  collections, and even though Plaintiff’s injuries were covered by workers’ compensation.

  According to Ability Recovery Service, LLC’s owner, “John,” he is allowed to continue

  collections according to the laws of his state (Pennsylvania), so he was not going to stop.

         28.     At all times relevant herein, Defendant knew or should have known that

  Plaintiff’s injuries were the result of a workplace injury; information that was readily

  ascertainable from Defendant’s client, Sterling Emergency Services of Miami Beach, P.A.

         29.     Upon information and belief, at no time under the circumstances described

  did Defendant have a legal claim against Plaintiff which can be enforced in a court of law,

  because the balance for the medical services rendered had already been paid in full, or

  Florida law shielded Plaintiff from liability.

         30.     Because Defendant was not permitted to attempt to collect from Plaintiff

  under Florida’s Workers’ Compensation Statutes, it violated the FDCPA by sending

  Plaintiff the December 26, 2019 letter. See Young v. NPAS, Inc., No. 2: 16-cv-01104 (D.

  Utah Feb. 5, 2019)

                                       COUNT I
         Violation of the FDCPA at 15 U.S.C. §§ 1692e, 1692e(2)(A), and 1692e(8)

         31.     Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

         32.     Section 1692e prohibits a debt collector from using any false, deceptive, or

  misleading representations in connection with the collection of a debt. More specifically,

  Section 1692e(2)(A) prohibits a debt collector from falsely representing of “the charact er,

  amount, or legal status of any debt.” Valle v. First Nat. Collection Bureau, Inc., 252 F. Supp.

  3d 1332, 1339 (S.D. Fla. 2017).

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         33.    Defendant violated Section 1692e by violating Fla. Stat. § 440.13(3)(g),

  specifically by attempting to collect a debt from Plaintiff which, by law, he does not owe.

         34.    Defendant made such demands despite their knowledge of the facts

  surrounding Plaintiff’s workplace injury and the protections afforded by Florida law.

         35.    The statements made by Defendant to Plaintiff, as described above, are

  patently false and violate 15 U.S.C. §§ 1692e(2)(A) and 1692(e)(8).

         36.    Additionally, a violation of state law may, as is the case here, be a violation

  of the FDCPA. See LeBlanc, 601 F.3d at 1202 n.29 (“[C]ollection activities that use ‘any

  false, deceptive, or misleading representation or means,’… under state law, will also

  constitute FDCPA violations.”).

         37.    More specifically, Section 1692e(2)(A) prohibits a debt collector from falsely

  representing of “the character, amount, or legal status of any debt.” Valle v. First Nat.

  Collection Bureau, Inc., 252 F. Supp. 3d 1332, 1339 (S.D. Fla. 2017).

         38.    Section 1692e(8) prohibits debt collectors from “[c]ommunicating or

  threatening to communicate to any person credit information which is known or which

  should be known to be false.” See Higgens v. Trident Asset Mgmt., LLC, 2017 WL 7796085,

  at *1 (S.D. Fla. July 21, 2017).

         39.    Defendant’s debt collection letter falsely represents “the character, amount,

  or legal status” of the alleged debt by alleging that Plaintiff is responsible for the alleged

  debt when, in fact, he is shielded from such liability by statute and because the bill had

  already been paid.

         40.    Furthermore, Defendant communicated to a credit reporting agency incorrect

  personal credit information which it should have known to be false because the alleged



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  delinquent bill had already been paid.

         41.    15 U.S.C. § 1692k(a) provides that a debt collector who fails to comply with

  any provision of the FDCPA with respect to any person is liable to such person for up to

  $1,000 in statutory damages, actual damages, the costs of the action, together with a

  reasonable attorney’s fee as determined by the court.


         WHEREFORE, Plaintiff requests judgment in his favor, and against Defendant for:

                a.     Statutory damages in the amount of $1,000 dollars;

                b.     Attorney’s fees, litigation expenses and costs of suit; and

                c.     Such other or further relief as the Court deems proper.

                                      JURY DEMAND

         46.    Plaintiff demands trial by jury.

  Dated: March 28, 2019

                                              Respectfully submitted,

                                              /s/ Scott D. Owens
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